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                                                            BP                                         0RELOL]DWLRQDQG
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                       'HSOR\PHQW
                                                                                                          0HWKRGV


  14. MOBILIZATION AND DEPLOYMENT METHODS

A. Overview

   %3 SXWV HPSKDVLV RQD U DSLGU HVSRQVH WR UHOHDVHV RIDO OVL ]HV WKURXJKDFR RUGLQDWHGH IIRUWE\ 
   FRPSDQ\ 6SLOO 0DQDJHPHQW 7HDP PHPEHUV JRYHUQPHQW DJHQFLHV 2652¶V DQG RWKHU
   DVVRFLDWHGVX SSRUWVH UYLFHV 3UHSODQQHGU HVSRQVHREM HFWLYHV DQGVW UDWHJLHV KDYHEHHQ
   GHYHORSHGDQGDU HXVHGLQWUDLQLQJWRHQVXUHDQG HIIHFWLYHDQGW LPHO\UHVSRQVHWRDQRLOVSLOORI
   DQ\PDJQLWXGH

B. General Response Strategy

   8SRQ QRWLILFDWLRQ RI D PDMRU RLO UHOHDVHIURP D %3IDFLOLW\ RU RSHUDWLRQ LQ WKH*XOI RI 0H[LFR %3
   UHVSRQVHSH UVRQQHOZ LOOP DNHW KHL QLWLDOQRW LILFDWLRQV WRDO OL QYROYHGJ RYHUQPHQWD JHQFLHV
   2652¶VDQGDVVRFLDWHGVXSSRUWVHUYLFHV
   
   %3KDVDFRQWUDFWLQHIIHFWZLWK1DWLRQDO5HVSRQVH&RUSRUDWLRQ 15& DQG0DULQH6SLOO5HVSRQVH
   &RUSRUDWLRQ 065&  DV ZHOO DV RWKHU 2652¶V WR HQVXUH DYDLODELOLW\ RI SHUVRQQHO VHUYLFHV DQG
   HTXLSPHQWRQD KRX USHU GD\ EDVL V 7KH 2652¶V FDQSU RYLGHSHU VRQQHOH TXLSPHQWDQG 
   PDWHULDOVLQVXIILFLHQWTXDQWLWLHVDQGUHFRYHU\FDSDFLW\WRUHVSRQGHIIHFWLYHO\WRRLOVSLOOVIURPWKH
   IDFLOLWLHVDQGOHDVHVFRYHUHGE\WKLVSODQLQFOXGLQJWKHZRUVWFDVHGLVFKDUJHVFHQDULRV7KHOLVWRI
   2LO6 SLOO5 HPRYDO2 UJDQL]DWLRQV 2652¶V P D\EHU HYLHZHG LQ Figure 7-7 15& KDV RLOVS LOO
   UHVSRQVH HTXLSPHQW ORFDWHG WKURXJKRXW WKH *XOI &RDVW DUHD 0XFK RI WKH HTXLSPHQW LV LQ URDG
   UHDG\FR QGLWLRQDQGDYD LODEOHW REHW UDQVSRUWHGRQVK RUWQR WLFHW RW KHQHDU HVWS UHGHWHUPLQHG
   VWDJLQJD UHDV V  7KH³ URDGUHDG\FR QGLWLRQ´HQ VXUHV WKHVK RUWHVWSRVV LEOHU HVSRQVHW LPHV IRU
   WUDQVSRUWLQJHTXLSPHQWWRWKHVWDJLQJDUHDV0DMRUHTXLSPHQWORFDWLRQVIRU15&FDQEHI RXQGLQ
   Figure 14-1
   
   5HVSRQVHWLPHVIRU15&9HVVHORI2SSRUWXQLW\6NLPPLQJ6\VWHPV 9266 IURPYDULRXVORFDWLRQV
   LQWKHLUDUHDRIFRYHUDJHDUHLOOXVWUDWHGLQWKHIROORZLQJPDSVDQGVFKHGXOHV7KHUHVSRQVHWLPHV
   XVHGWRFDOFXODWHWKH(7$RIWKHVNLPPLQJYHVVHOVLQFOXGHWKHIROORZLQJFULWHULD





7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                            836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                 (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                               'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                         *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                      ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                         &RQWURO7LHU7LHU*R05HJLRQ
                                                                                       6HFWLRQ3DJHRI3DJHV
                                                                                     7KH5HVSRQVH*URXS
         Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 12 of 53
                                                                                                             Section 14
                                                            BP                                             0RELOL]DWLRQDQG
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                           'HSOR\PHQW
                                                                                                              0HWKRGV



            x     Procurement Time
                   7LPH UHTXLUHG DIWHU ³$XWKRUL]DWLRQ WR 3URFHHG´ LV UHFHLYHG WR DVVHPEOH
                   UHVSRQVH HTXLSPHQW DQG RSHUDWLRQ SHUVRQQHO ORDG WKH QHHGHG UHTXHVWHG
                   HTXLSPHQWDQGSUHSDUHWRJHWXQGHUZD\WRZDUGWKHVSLOOHYHQW
                   
                   $WZR  KRXUSURFXUHPHQWWLPHKDVEHHQIDFWRUHGLQWRWKHWUDYHOIRUWKHODQG
                   EDVHG9266SDFNDJHV
                   $ IRXU  KRXU S URFXUHPHQWR I6 XSSOHPHQWDO 2IIVKRUH9 HVVHOV DQG3 RUWDEOH
                    6WRUDJH 7DQNV ZLOOEH D FKLHYHGGXU LQJW KHO DQG WUDQVSRUWR I WKH9 266XQL WV
     
                    7KLVLVVHOGRPDOLPLWLQJIDFWRULQWKHDFWXDOUHVSRQVH
     
            x     Load-out Time
                   7KHW LPHU HTXLUHGW RW UDQVIHUW KHU HVSRQVHH TXLSPHQWW RD6 XSSOHPHQWDO
                   2IIVKRUH9HVVHORIRSSRUWXQLW\IRUFDUULDJHWRWKHVSLOOVLWH
                   
                   $WZR  KRXUORDGRXWWLPHPXVWEHDGGHGWRWKHWDEOHVDVWKHWLPHQHHGHGWR
                    WUDQVIHU9 266SDF NDJHV DQG6 WRUDJH 7DQNV WRW KH6 XSSOHPHQWDO2 IIVKRUH
     
                    9HVVHOV
     
            x     Travel Time
                   7KLV LVWKH RYHUWKHURDG WLPHFDOFXODWHG DFFRUGLQJWRWKH 3ODQQLQJ VWDQGDUGV
                   PDQGDWHGE\23$,WLQFOXGHVDQDYHUDJHVSHHGRIP LOHVSHUKRXULQD
                   VWUDLJKW OLQH RYHU WKH URDG:DWHU EDVHG WUDYHO LV FDOFXODWHG XVLQJ  NQRWV IRU
                    EDUJHVDQGNQRWVIRUYHVVHOV
     
     
     7KHP DSV LOOXVWUDWHGL Q Figure 14-2 LQGLFDWH WUDYHO GLVWDQFHV IURPY DULRXV VWDJLQJDU HDV LQ
     LQFUHPHQWV RI  DQG  KRXUV Figure 14-3 GHWDLOV HVWLPDWHG WUDYHO WLPHV EHWZHHQ HTXLSPHQW
     ORFDWLRQVDQGVWDJLQJDUHDV )RUERWKODQGDQGZDWHUWUDYHO                         

C. Transportation of Personnel, Equipment and Resources

   7KH PRELOL]DWLRQ DQG GHSOR\PHQW RISHU VRQQHOHT XLSPHQW DQG PDWHULDOV WR SUHGHWHUPLQHG
   VWDJLQJDUHDVLQDQH[ SHGLHQWPDQQHULVHVVHQWLDOWRWKHVXFFHVVRIWKHVSLOOUHVSRQVHRSHUDWLRQ
   ,Q WKH HYHQW RI D VXEVWDQWLDO RLO UHOHDVH LQWR *XOI ZDWHUV %3 LQ FRRSHUDWLRQ ZLWK VWDWH SROLFH
   RIILFLDOVZLOOHVWDEOLVK³SURWHFWHG´ODQGURXWHVLQDQHIIRUWWRPLQLPL]HWUDIILFFRQJHVWLRQGXULQJWKH
   PRYHPHQWRISHUVRQQHOHTXLSPHQWDQG PDWHULDOVWRVWDJLQJDUHDV³3URWHFWHG´ODQGURXWHVPD\
   DOVREHFR QVLGHUHG IRU WUDQVSRUWLQJDF FXPXODWHGZ DVWH LHRL OHGGHE ULVVR UEHQWVH WF  IURP
   FROOHFWLRQDUHDVWRGHVLJQDWHGZDVWHPDQDJHPHQWWUHDWPHQWDQGRUGLVSRVDOVLWHV
     




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                    &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                     (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                   'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                             *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                          ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                             &RQWURO7LHU7LHU*R05HJLRQ
                                                                                           6HFWLRQ3DJHRI3DJHV
                                                                                         7KH5HVSRQVH*URXS
       Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 13 of 53
                                                                                                        Section 14
                                                            BP                                        0RELOL]DWLRQDQG
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                      'HSOR\PHQW
                                                                                                         0HWKRGV

   7UDQVSRUWDWLRQUHVRXUFHVZLOOLQFOXGHWUXFNLQJPDULQHYHVVHOVDQGD LUFUDIW IL[HGZLQJDQGU RWRU 
   7UXFNLQJW\SHVPD\LQFOXGHYDFXXPWUXFNVIODWEHGVSLFNXSVVHPLWUDFWRUWUDLOHUVHWF$LUFUDIWZLOO
   LQFOXGHDL USODQHVKHO LFRSWHUVDQGVH D SODQHV 0DULQH YHVVHOV ZLOO LQFOXGH, 'ERD WVW XJERDW V
   XWLOLW\ YHVVHOVVK DOORZ ZDWHUEDU JHVF UHZ ERDWV MRKQERDWVHW F $FR PSOHWHO LVWLQJR I
   WUDQVSRUWDWLRQUHVRXUFHVFDQEHIRXQGLQAppendix F WRVXSSRUWODQGDLUDQGZDWHUWUDQVSRUWDWLRQ
   VXSSRUWGXULQJDQHPHUJHQF\
                
D. Staging Area List

   ,QWKHHYHQWRIDVSLOOLQ*XOIZDWHUV%3DQGWKHSULPDU\2652VZLOOLGHQWLI\RQHRUPRUHRQVKRUH
   VWDJLQJDU HDV EDVHGRQ VS LOOO RFDWLRQDQGGL UHFWLRQR IVS LOOP RYHPHQW 6WDJLQJDU HDVP D\E H
   PRYHGWRDOWHUQDWHORFDWLRQVGXULQJWKHFRXUVHRIWKHUHVSRQVHDV FRQGLWLRQVFKDQJH LHZLQG
   FXUUHQW HWF  ,GHDOO\ VWDJLQJ DUHDV ZLOO KDYHD GHTXDWH SDUNLQJ DFFHVV WRZ DWHU ERDW UDPSV
   FUDQHV HWF  OLJKWLQJ WHOHSKRQHV SRWDEOH ZDWHU UHVWURRPV DQG EXLOGLQJ V  DV ZHOO DV KDYLQJ D
   VKRUWURXWHWRWKHVSLOODUHD V 
   
   %3 KDV SUHLGHQWLILHGV WDJLQJDU HDV DORQJ WKH *XOI& RDVWW R H[SHGLWHW KHSU RFHVV RIL GHQWLI\LQJ
   VWDJLQJDUHDVGXULQJDQLQFLGHQWUHVSRQVH)RUDFRPSOHWHOLVWVHHFigure 14-5
   




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                           836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                               &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                              'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                        *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                     ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                        &RQWURO7LHU7LHU*R05HJLRQ
                                                                                      6HFWLRQ3DJHRI3DJHV
                                                                                    7KH5HVSRQVH*URXS
                                                                                                                                       Section 14
                                                                              BP                                                     0RELOL]DWLRQDQG
                                                        5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*202SHUDWLRQV                            'HSOR\PHQW
                                                                                                                                        0HWKRGV


MSRC / NRC Equipment Location Map                                                                                                  Figure 14-1




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                                          836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                                              &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                                               (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                                             'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                                                       *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 14 of 53




5HYLVLRQ'DWH                                                                                                   ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                                                       &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                                     6HFWLRQ3DJHRI3DJHV
                                                                                                                   7KH5HVSRQVH*URXS
              Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 15 of 53

                                                                                                                                                                                 Section 14
                                                                                      BP                                                                                       0RELOL]DWLRQDQG
                                     5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                                                                                         'HSOR\PHQW
                                                                                                                                                                                  0HWKRGV
       
            Pre-Staged Equipment & Gulf Coast Staging Area Transit Times Cross-
            Reference (Water)                                              Figure 14-2
       




                                                    Port O’Connor,
                                    Aransas Pass,




                                                                                                                                                        Grand Isle, LA
                                                                                        Galveston, TX




                                                                                                                                                                                        Theodore, AL
                                                                                                                        Cameron, LA
                                                                                                        Sabine Pass,




                                                                                                                                        Morgan City,
                                                                       Freeport, TX




                                                                                                                                                                          Venice, LA
                                                                                                                                        LA
                                    TX




                                                    TX




                                                                                                        TX
            Equipment Pre-
                                                               Gulf Coast Staging Areas (With transit time in hours)
            Staged Location
             &RUSXV&KULVWL7;                                                                                                                                      

                /D3RUWH7;                                                                                                                                    

              2UDQJHILHOG7;                                                                                                                                  

                6XOSKXU/$                                                                                                                                     

              0RUJDQ&LW\/$                                                                                                                                     

               2¶)DOORQ02                                                                                                                                

                (OOLVYLOOH02                                                                                                                     

               0HPSKLV71                                                                                                                               

              %HOOH&KDVVH/$                                                                                                                            

              6SDQLVK)RUW$/                                                                                                                               

               3DGXFDK.<                                                                                                                           

               3HQVDFROD)/                                                                                                                                 

              3DQDPD&LW\)/                                                                                                                               

                 7DPSD)/                                                                                                                         

              -DFNVRQYLOOH)/                                                                                                                         

               6DYDQQDK*$                                                                                                                              

            )RUW/DXGHUGDOH)/                                                                                                                   

                +RXPD/$                                                                                                                                   

              /DNH&KDUOHV/$                                                                                                                                         

               *DOYHVWRQ7;                                                                                                                                 


       




       7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                                                           836866:*20+6('2&
       $XWKRULW\'DQ55HSORJOH                                                                                                               &XVWRGLDQ(DUQHVW%XVK
       *R0(060JPW5HSUHVHQWDWLYH                                                                                                                (QYLURQPHQWDO&RRUGLQDWRU
       6FRSH*R0(06                                                                                                              'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
       ,VVXH'DWH                                                                                                        *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
       5HYLVLRQ'DWH                                                                                                                     ,VVXLQJ'HSW*20638
9HUVLRQ1XPEHU                                         Section  14 – 5
       1H[W5HYLHZ'DWH                                                                                                        &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                                                             6HFWLRQ3DJHRI3DJHV
                                                                                                                                           7KH5HVSRQVH*URXS
              Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 16 of 53

                                                                                                                                                                                             Section 14
                                                                                                      BP                                                                                   0RELOL]DWLRQDQG
                                           5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                                                                                               'HSOR\PHQW
                                                                                                                                                                                              0HWKRGV
       
           Pre-Staged Equipment & Gulf Coast Staging Area Transit Times Cross-
       
            Reference (Land)                                               Figure 14-3




                                                    Port O’Connor,
                                   Aransas Pass,




                                                                                                                                                           Grand Isle, LA
                                                                                      Galveston, TX




                                                                                                                                                                                                 Theodore, AL
                                                                                                                            Cameron, LA
                                                                                                           Sabine Pass,




                                                                                                                                          Morgan City,
                                                                       Freeport, TX




                                                                                                                                                                              Venice, LA
                                                                                                                                          LA
                                   TX



                                                    TX




                                                                                                           TX
           Equipment Pre-
                                                                     Gulf Coast Staging Areas (With transit time in hours)
           Staged Location
                                                                                                                                                                           
             &RUSXV&KULVWL7;
                                   PL           PL     PL     PL     PL                                PL         PL         PL             PL             PL
                                                                                                                                                                           
               /D3RUWH7;
                                  PL           PL   PL  PL                                      PL         PL        PL            PL            PL
                                                                                                                                                                            
              2UDQJHILHOG7;
                                  PL           PL    PL    PL  PL                               PL        PL        PL            PL            PL 
                                                                                                                                                                       
                6XOSKXU/$
                                  PL           PL    PL    PL  PL                               PL        PL        PL            PL            PL 
                                                                                                                                                                         
             0RUJDQ&LW\/$                                                                                                                  
                                  PL           PL    PL    PL    PL                               PL                        PL            PL            PL
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               2¶)DOORQ02
                                 PL         PL  PL     PL    PL                               PL         PL        PL            PL            PL
                                                                                                                                                                  
               (OOLVYLOOH02
                                 PL         PL  PL     PL    PL                               PL         PL        PL            PL            PL
                                                                                                                                                                      
               0HPSKLV71
                                  PL           PL    PL    PL    PL                               PL         PL        PL            PL            PL
                                                                                                                                                                          
             %HOOH&KDVVH/$
                                  PL           PL    PL    PL    PL                               PL         PL       PL            PL           PL
                                                                                                                                                                      
             6SDQLVK)RUW$/
                                  PL           PL    PL    PL    PL                               PL        PL        PL            PL            PL 
                                                                                                                                                                  
               3DGXFDK.<
                                 PL          PL    PL    PL    PL                               PL        PL        PL            PL            PL 
                                                                                                                                                                  
              3HQVDFROD)/
                                  PL           PL    PL    PL    PL                               PL         PL        PL            PL            PL 
                                                                                                                                                                  
             3DQDPD&LW\)/
                                  PL           PL    PL    PL    PL                               PL         PL        PL            PL            PL
                                                                                                                                                                     
                 7DPSD)/
                                 PL         PL  PL  PL  PL                                PL         PL        PL            PL            PL
                                                                                                                                                                       
             -DFNVRQYLOOH)/
                                 PL         PL  PL     PL    PL                               PL         PL        PL            PL            PL
                                                                                                                                                                   
              6DYDQQDK*$
                                 PL         PL  PL  PL  PL                                PL         PL        PL            PL            PL
                                                                                                                                                            
            )RUW/DXGHUGDOH)/
                                 PL         PL  PL  PL  PL                             PL       PL        PL            PL            PL 
                                                                                                                                                                      
               ,QJOHVLGH7;
                                   PL           PL    PL    PL    PL                               PL        PL        PL            PL            PL 
                                                                                                                                                                            
              *DOYHVWRQ7;                                                
                                  PL           PL    PL                PL                                PL         PL        PL            PL            PL
                                                                                                                                                                            
              3RUW$UWKXU7;
                                  PL           PL    PL    PL  PL                               PL        PL        PL            PL            PL
                                                                                                                                                                      
             /DNH&KDUOHV/$
                                  PL           PL    PL    PL    PL                                PL         PL        PL            PL            PL




       7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                                                                    836866:*20+6('2&
       $XWKRULW\'DQ55HSORJOH                                                                                                                        &XVWRGLDQ(DUQHVW%XVK
       *R0(060JPW5HSUHVHQWDWLYH                                                                                                                         (QYLURQPHQWDO&RRUGLQDWRU
       6FRSH*R0(06                                                                                                                       'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
       ,VVXH'DWH                                                                                                                 *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
       5HYLVLRQ'DWH                                                                                                                              ,VVXLQJ'HSW*20638
9HUVLRQ1XPEHU                                         Section  14 – 6
       1H[W5HYLHZ'DWH                                                                                                                 &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                                                                      6HFWLRQ3DJHRI3DJHV
                                                                                                                                                    7KH5HVSRQVH*URXS
              Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 17 of 53

                                                                                                                                                                                           Section 14
                                                                                                     BP                                                                                  0RELOL]DWLRQDQG
                                         5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                                                                                               'HSOR\PHQW
                                                                                                                                                                                            0HWKRGV


            Pre-Staged Equipment & Gulf Coast Staging Area Transit Times Cross-
            Reference (Land) (continued)                                  Figure 14-3




                                                 Port O’Connor,
                                 Aransas Pass,




                                                                                                                                                         Grand Isle, LA
                                                                                     Galveston, TX




                                                                                                                                                                                               Theodore, AL
                                                                                                                          Cameron, LA
                                                                                                          Sabine Pass,




                                                                                                                                        Morgan City,
                                                                    Freeport, TX




                                                                                                                                                                            Venice, LA
                                                                                                                                        LA
                                 TX



                                                 TX




                                                                                                          TX
           Equipment Pre-
                                                                  Gulf Coast Staging Areas (With transit time in hours)
           Staged Location
                                                                                                                                                                       
             %DWRQ5RXJH/$
                                PL          PL          PL          PL            PL            PL         PL       PL            PL            PL
                                                                                                                                                                       
             3DVFDJRXOD06
                                PL          PL          PL          PL            PL            PL         PL        PL            PL            PL 
                                                                                                                                                             
                +RXPD/$
                                PL          PL          PL          PL            PL            PL          PL         PL            PL            PL




       7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                                                                  836866:*20+6('2&
       $XWKRULW\'DQ55HSORJOH                                                                                                                      &XVWRGLDQ(DUQHVW%XVK
       *R0(060JPW5HSUHVHQWDWLYH                                                                                                                       (QYLURQPHQWDO&RRUGLQDWRU
       6FRSH*R0(06                                                                                                                     'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
       ,VVXH'DWH                                                                                                               *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
       5HYLVLRQ'DWH                                                                                                                            ,VVXLQJ'HSW*20638
9HUVLRQ1XPEHU                                         Section  14 – 7
       1H[W5HYLHZ'DWH                                                                                                               &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                                                                    6HFWLRQ3DJHRI3DJHV
                                                                                                                                                  7KH5HVSRQVH*URXS
                                                                                                                                       Section 14
                                                                              BP                                                     0RELOL]DWLRQDQG
                                                        5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*202SHUDWLRQV                            'HSOR\PHQW
                                                                                                                                        0HWKRGV

Texas Estimated Response Time Map                                                                                                  Figure 14-4




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                                          836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                                              &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                                               (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                                             'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                                                       *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 18 of 53




5HYLVLRQ'DWH                                                                                                   ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                                                       &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                                     6HFWLRQ3DJHRI3DJHV
                                                                                                                   7KH5HVSRQVH*URXS
                                                                                                                                       Section 14
                                                                              BP                                                     0RELOL]DWLRQDQG
                                                        5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*202SHUDWLRQV                            'HSOR\PHQW
                                                                                                                                        0HWKRGV

(DVW7H[DV:HVW/D(VWLPDWH
                          HG5HVSRQVH7LPH0DS                                                                                  )LJXUH




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                                          836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                                              &XVWRGLDQ(DUQHVW%XVK
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 19 of 53




*R0(060JPW5HSUHVHQWDWLYH                                                                                               (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                                             'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                                                       *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                                                   ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                                                       &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                                     6HFWLRQ3DJHRI3DJHV
                                                                                                                   7KH5HVSRQVH*URXS
                                                                                                                                       Section 14
                                                                              BP                                                     0RELOL]DWLRQDQG
                                                        5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*202SHUDWLRQV                            'HSOR\PHQW
                                                                                                                                        0HWKRGV


Central Louisiana Estimated Response Time Map                                                                                     Figure 14-4




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                                          836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                                              &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                                              (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                                             'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                                                       *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 20 of 53




5HYLVLRQ'DWH                                                                                                  ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                                                       &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                                   6HFWLRQ3DJHRI3DJHV
                                                                                                                   7KH5HVSRQVH*URXS
                                                                                                                                       Section 14
                                                                              BP                                                     0RELOL]DWLRQDQG
                                                        5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*202SHUDWLRQV                            'HSOR\PHQW
                                                                                                                                        0HWKRGV

 Mississippi & Alabama Estimated Response Time Map                                                                                 Figure 14-4




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                                          836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                                              &XVWRGLDQ(DUQHVW%XVK
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 21 of 53




*R0(060JPW5HSUHVHQWDWLYH                                                                                              (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                                             'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                                                       *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                                                  ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                                                       &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                                   6HFWLRQ3DJHRI3DJHV
                                                                                                                   7KH5HVSRQVH*URXS
                                                                                                                                       Section 14
                                                                              BP                                                     0RELOL]DWLRQDQG
                                                        5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*202SHUDWLRQV                            'HSOR\PHQW
                                                                                                                                        0HWKRGV


 Florida Estimated Response Time Map                                                                                               Figure 14-4




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                                          836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                                              &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                                              (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                                             'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                                                       *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                                                  ,VVXLQJ'HSW*20638
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 22 of 53




1H[W5HYLHZ'DWH                                                                                       &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                                   6HFWLRQ3DJHRI3DJHV
                                                                                                                   7KH5HVSRQVH*URXS
       Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 23 of 53


                                                                                                            Section 14
                                                                  BP                                      0RELOL]DWLRQDQG
                                5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                         'HSOR\PHQW
                                                                                                             0HWKRGV

    Pre-Identified Staging Areas – Louisiana                                                        Figure 14-5

            LOCATION                 COMPANY NAME                      PHONE       CRANE           TRAILER
               $EEHYLOOH                    $0%$5                    <HV               <HV
                $PHOLD                       $6&2                    <HV               <HV
                                     %DURLG'ULOOLQJ)OXLGV           <HV               <HV
                                          %HUU\%URWKHUV              <HV               <HV
                                         %HUZLFN6XSSO\                1R                1R
                %HUZLFN
                                    / /2LO&RPSDQ\,QF           <HV               <HV
                                        0,'ULOOLQJ)OXLGV           <HV               <HV
                                            6SLULW6WDU               <HV              $FFHVV
                                             $0%$5                    <HV               <HV
                                          %DNHU+XJKHV                  <HV                <HV
                                     %DURLG'ULOOLQJ)OXLGV           <HV               <HV
               &DPHURQ
                                    +DOOLEXUWRQ6HUYLFHV,QF       $FFHVV             <HV
                                        0,'ULOOLQJ)OXLGV           <HV               <HV
                                    0LGVWUHDP)XHO6HUYLFH            <HV                1R
                &KHQLHU                  &UDLQ%URWKHUV              <HV                1R
                                          %DNHU+XJKHV                <HV               <HV
                 'XODF
                                        0,'ULOOLQJ)OXLGV           <HV               <HV
                                    1HZSDUN(QYLURQPHQWDO             <HV               <HV
                                              $6&2                    <HV                1R
               )RXUFKRQ              0DUWLQ7HUPLQDO,QF           <HV               <HV
                                              $6&2                    <HV               <HV
                                     %DURLG'ULOOLQJ)OXLGV           <HV               <HV
           *ROGHQ0HDGRZ               0,'ULOOLQJ)OXLGV           <HV               <HV
             *UDQG,VOH               065&&OHDQ*XOI                <HV               <HV
                                             $0%$5                     <HV                 1R
                                          %DNHU+XJKHV                <HV               <HV
                                     %DURLG'ULOOLQJ)OXLGV           <HV               <HV
           ,QWUDFRDVWDO&LW\
                                    %URXVVDUG%URWKHUV,QF          <HV               <HV
                                              $6&2                    <HV               <HV
                                        0,'ULOOLQJ)OXLGV           <HV               <HV
              /DID\HWWH                0,'ULOOLQJ)OXLGV           <HV               <HV
             1HZ2UOHDQV             $YRQGDOH6KLS\DUG               <HV               <HV
                                          %DNHU+XJKHV                <HV               <HV
                9HQLFH             +DOOLEXUWRQ6HUYLFHV,QF        <HV               <HV
                                           0,'ULOOLQJ               <HV               <HV


7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                               836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                   &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                   (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                  'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                            *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                        ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                            &RQWURO7LHU7LHU*R05HJLRQ
                                                                                        6HFWLRQ3DJHRI3DJHV
                                                                                        7KH5HVSRQVH*URXS
       Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 24 of 53


                                                                                                           Section 14
                                                                 BP                                      0RELOL]DWLRQDQG
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                         'HSOR\PHQW
                                                                                                            0HWKRGV

 Pre-Identified Staging Areas – Texas                                                             Figure 14-5


            LOCATION                 COMPANY NAME                     PHONE       CRANE           TRAILER
            $UDQVDV3DVV          +DOOLEXUWRQ6HUYLFHV,QF       $FFHVV              <HV
            &RUSXV&KULVWL        +DOOLEXUWRQ6HUYLFHV,QF        $FFHVV              <HV
                                         %DNHU+XJKHV                <HV                <HV
               )UHHSRUW             2IIVKRUH2LO6HUYLFHV           <HV                <HV
                                    0LGVWUHDP)XHO6HUYLFH           <HV                <HV
                                            $0%$5                    <HV                <HV
                                   +DOOLEXUWRQ6HUYLFHV,QF         1R                1R
              *DOYHVWRQ            0LGVWUHDP)XHO6HUYLFH           <HV                <HV
                                    0LGVWUHDP)XHO6HUYLFH           <HV                1R
                                    0LGVWUHDP)XHO6HUYLFH           <HV                <HV
            +DUERU,VODQG               %DNHU+XJKHV                <HV                <HV
            3RUW$UDQVDV           0LGVWUHDP)XHO6HUYLFH           <HV                <HV
            3RUW2¶&RQQRU          0LGVWUHDP)XHO6HUYLFH           <HV                <HV
                                   6DELQH2IIVKRUH6HUYLFHV            <HV                 1R
             6DELQH3DVV
                                    0LGVWUHDP)XHO6HUYLFH          $FFHVV              <HV




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                              836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                  &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                  (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                 'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                           *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                       ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                           &RQWURO7LHU7LHU*R05HJLRQ
                                                                                       6HFWLRQ3DJHRI3DJHV
                                                                                       7KH5HVSRQVH*URXS
          Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 25 of 53
                                                                                                          Section 15
                                                            BP                                           2LODQG'HEULV
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                           5HPRYDO
                                                                                                          3URFHGXUHV


     15. OIL AND DEBRIS REMOVAL PROCEDURES

A.    Offshore Procedures
      
      &RQWDLQPHQWDQGU HPRYDORI RL ODQGRL OHGGHEU LV GXULQJW KHFR XUVHR I DQRL OVS LOOU HVSRQVHL V
      HVVHQWLDOLQPLWLJDWLQJWKHLPSDFWDQGVXEVHTXHQWOLDELOLW\RIWKHUHOHDVH
      
      2IIVKRUH UHPRYDOSU RFHGXUHV DUHGHSHQGHQW XS RQW KHO RFDWLRQR IW KHL QFLGHQWU HVSRQVHW LPH
      ZHDWKHUFRQGLWLRQVYROXPHVSLOOHGDQGRW KHUYDULDEOHV5HVSRQGLQJWRDQRLOVSLOOLQRSHQ ZDWHU
      LVSUHIHUUHGVRDVWRSUHYHQWSURGXFWIURPUHDFKLQJVHQVLWLYHVKRUHOLQHUHVRXUFHV
      
      2IIVKRUHFOHDQXSSURFHGXUHVDQGWKHDVVRFLDWHGOLPLWDWLRQVRIHDFKDUHOLVWHGLQFigure 15-1
      
      ,IRLOHGGHEULVLVSUHVHQWDWRIIVKRUHORFDWLRQVWKHPDWHULDOPD\EHSODFHGRQDYHVVHORUEDUJHLQ
      D PDQQHU WKDW ZLOO QRW DOORZ VHHSDJH 7KH GHEULV ZLOO EH WUDQVIHUUHG WR DQ DSSURSULDWH ORFDWLRQ
      VHJUHJDWHGE\ W \SHV LHVR UEHQWP DWHULDOW UDVKVD QGY HJHWDWLRQHW F DQGSO DFHGL QWR
      GHVLJQDWHGU ROORII ER[HV RU DOWHUQDWH FRQWDLQHUV OLQHG ZLWK LPSHUYLRXV PDWHULDO LH SUHFXW
      SRO\HWK\OHQHVK HHWO LQHUV W RS UHYHQWDGGL WLRQDOFR QWDPLQDWLRQ 7KHU ROORIIER[ HV ZLOOEH 
      PDQLIHVWHGDQGWUDQVSRUWHGWRGHVLJQDWHGGLVSRVDOVLWHVLQDFFRUGDQFHZLWKDSSOLFDEOHUHJXODWLRQ
      
      %3KDVVWDQGLQJFRQWUDFWVZLWKPXOWLSOH2LO6SLOO5HVSRQVH2UJDQL]DWLRQVZKRPDLQWDLQGHGLFDWHG
      RIIVKRUH UHVSRQVH YHVVHOV LQ WKH *XOI RI 0H[LFR DUHD WR PLWLJDWH RIIVKRUH VSLOOV 7KHVH YHVVHOV
      KDYHSHUPDQHQWO\DVVLJQHGFUHZPHPEHUVDQGFDQJHQHUDOO\UHVSRQGLQWZRKRXUVRUOHVV7KH
      YHVVHOVLQTXHVWLRQPDLQWDLQWKHQHFHVVDU\VSLOOFRQWDLQPHQWDQGUHFRYHU\HTXLSPHQWWRUHVSRQG
      HIIHFWLYHO\WRVSLOOVDVUHTXHVWHG9HVVHOVDUHDOVRHTXLSSHGZLWKFRPPXQLFDWLRQVDQGRUWUDFNLQJ
      V\VWHPVWKDWDOORZI RUFRQWLQXRXVFRQWDFWDQGORFDWLRQVW DWXVXSGDWHV)RUDFR PSOHWHOLVWLQJRI
      VSLOOUHVSRQVHHTXLSPHQWVHHAppendix E

B.    Shallow Water Procedures

      7KHUHFRYHU\DQGGL VSRVDORIRLO\GHEULVGXULQJVKDOORZZDWHUFOHDQXSRSHUDWLRQVLVHVVHQWLDOLQ
      SUHVHUYLQJVH QVLWLYHHQY LURQPHQWDOU HVRXUFHV DQGKDEL WDWV 5HVSRQVHSHU VRQQHOVK RXOGEH 
      WUDLQHGLQDOODVSHFWVRIVSLOOUHVSRQVHLQFOXGLQJWKHSURSHUSURFHGXUHVWRUHFRYHUDQGW UDQVSRUW
      RLO\GHEU LV VDIHO\Z KLOH PLQLPL]LQJGDP DJHW RV XUURXQGLQJHFR V\VWHPV $UHDV VHQVLWLYHW RI RRW
      WUDIILF VKRXOGKDY HS O\ZRRGVK HHWV GHSOR\HGW R SUHYHQWU RRWGDP DJHW R SODQWV DQGY HJHWDWLRQ
      2LO\GHEULVPD\EHFROOHFWHG
      
      YLDVK DOORZGU DIWERDW VEDUJHVO LJKWY HKLFOHV ZKHUHDSSO LFDEOH W RZDEOHEO DGGHUVHW F 7KH
      GHEULVZLOOEHKDQGOHGLQDPDQQHUZKLFKZLOOSUHYHQWVHHSDJHWRRFFXUDQGZLOOEHVHJUHJDWHGE\
      W\SH LHVRUEHQWPDWHULDOYHJHWDWLRQVRLOHWF 7KHGHEULVZLOOEHWUDQVIHUUHGLQWRUROORIIER[HV
      KDXOLQJWUXFNVRURWKHUVXLWDEOHFRQWDLQHUVOLQHGZLWKSRO\HWK\OHQHOLQHUVDQGZLOOEHP DQLIHVWHG
      DQGWUDQVSRUWHGWRGHVLJQDWHGGLVSRVDOVLWHV
      

7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                             836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                 &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                  (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                          *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                       ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                           &RQWURO7LHU7LHU*R05HJLRQ
                                                                                        6HFWLRQ3DJHRI3DJHV
                                                                                      7KH5HVSRQVH*URXS
          Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 26 of 53
                                                                                                   Section 15
                                                            BP                                    2LODQG'HEULV
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                    5HPRYDO
                                                                                                   3URFHGXUHV
      
      ,QWKHHYHQWWKHDERYHDUHDVDUHFRQWDPLQDWHGDGDPDJHDVVHVVPHQWZLOOEHFRQGXFWHGSULRUWR
      LQLWLDOUHVSRQVHHIIRUWVWRHYDOXDWHGDPDJHDQGZLOOLQFOXGHWKHIROORZLQJLQIRUPDWLRQ
                  
                7\SHRIRLO
                $PRXQWRIRLOVSLOOHG
                'HJUHHWRZKLFKRLOFRYHUVYHJHWDWLRQ
                6HDVRQ
                'HJUHHRIRLOZHDWKHULQJSULRUWRLPSDFWDQG
                5HTXLUHPHQWVIRUVWRUDJHDQGGLVSRVDORIUHFRYHUHGPDWHULDOV

      6KDOORZ ZDWHUDQGVK RUHOLQHFO HDQXSSU RFHGXUHVDQGDVVR FLDWHGO LPLWDWLRQVDU HGH WDLOHGL Q
      Figure 15-2 6KDOORZ:DWHU&OHDQXS3URFHGXUHV 
      
      0DUVKFOHDQXSWHFKQLTXHVPD\EHUHYLHZHGLQFigure 15-3
      




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                      836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                          &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                           (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                         'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                   *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                    &RQWURO7LHU7LHU*R05HJLRQ
                                                                                 6HFWLRQ3DJHRI3DJHV
                                                                               7KH5HVSRQVH*URXS
       Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 27 of 53
                                                                                                          Section 15
                                                             BP                                          2LODQG'HEULV
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                           5HPRYDO
                                                                                                          3URFHGXUHV

    Offshore Cleanup Procedures                                                                    Figure 15-1


               Method                              Applicability                    Limitations
                                 )DVWUHVSRQVHXQLWV,'ERDWV
                                                                    6XFFHVVIXOLQUHPRYLQJRLOLQVHDVWDWHV
                                 DQGVNLPPLQJV\VWHPVZLWK
     0HFKDQLFDO5HFRYHU\                                           RI8VHGLQDOOVL]HVRIVSLOOV/LPLWHG
                                 YDULRXVFRQWDLQPHQWERRPLQJ
                                                                    E\ZHDWKHUFRQGLWLRQV
                                 PHWKRGV
     &RQWDLQPHQW%RRPLQJ        &RQWDLQVRLOWRSUHYHQW
      ³9´ERRPLQJ³-´ERRPLQJ VSUHDGLQJ9DULRXVERRPLQJ        6XFFHVVIXOLQFRQWDLQLQJDOOW\SHVRIRLOLQ
     WHDUGURSERRPLQJERDW     WHFKQLTXHVPD\EHXWLOL]HG        VHDVWDWHVRI8VHGLQDOOVL]HVRI
     ERRPLQJG\QDPLF           GHSHQGHQWXSRQSUHYDLOLQJ         VSLOOV/LPLWHGE\ZHDWKHUFRQGLWLRQV
     ERRPLQJ                   FRQGLWLRQV
                                 $SSOLFDWLRQRIFKHPLFDOWR
                                                                    /LPLWHGE\ZHDWKHUFRQGLWLRQV3UH
                                 GLVSHUVHRLOIURPVXUIDFHLQWR
                                                                    DSSURYDODUHDVLQZDWHUGHSWKVRI
     &KHPLFDO'LVSHUVLRQ        VXVSHQVLRQLQWKHZDWHUFROXPQ
                                                                    PHWHUVRUPRUH5HJXODWRU\DSSURYDO
                                 0D\EHDSSOLHGE\DLUSODQHRU
                                                                    UHTXLUHGIRUGHSWKVOHVVWKDQPHWHUV
                                 ERDW
                                                                    /LPLWHGE\ZHDWKHUFRQGLWLRQVWKLFNQHVV
     In-Situ%XUQLQJ            %XUQLQJRLOWRSUHYHQWVSUHDGLQJ DQGYRODWLOLW\RIRLO0XVWEHFRQGXFWHG
                                                                    ZLWKLQVHYHUDOKRXUVRIVSLOO
                                 $OORZQDWXUDOHOHPHQWV LH     1ROLPLWDWLRQV8VHGLQFLUFXPVWDQFHVRI
     1DWXUDO'LVSHUVLRQ         ZDYHDFWLRQHYDSRUDWLRQHWF  VPDOODQGODUJHVSLOOVWKDWSRVHQRWKUHDW
                                 WRUHPRYHRLOIURPZDWHU         WRVHQVLWLYHDUHDV
                                 'HSOR\HGDWDQDQJOHWR
                                                                    :DYHKHLJKWVOHVVWKDQIWSURWHFWV
                                 DSSURDFKLQJVOLFNWRGLYHUWRLO
     'LYHUVLRQ%RRPLQJ                                             VKRUHOLQHUHVRXUFHV LHWLGDOLQOHWVVDOW
                                 DZD\IURPVHQVLWLYHVKRUHOLQH
                                                                    PDUVKHVVDQGPXGIODWVHWF 
                                 UHVRXUFHV
                                 %DFNXSERRPWRDEVRUE
                                 HQWUDLQHGRLO'HSOR\HGLQ
                                                                    /LPLWHGE\ZHDWKHUFRQGLWLRQV
     6RUEHQW%RRPLQJ            FRQMXQFWLRQZLWKFRQWDLQPHQW
                                                                    6XFFHVVIXOLQTXLHWVHDVZLWKOLWWOHZLQG
                                 ERRPDFURVVDSSURDFKLQJRLO
                                 VOLFN




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                             836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                 &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                  (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                          *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                       ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                           &RQWURO7LHU7LHU*R05HJLRQ
                                                                                        6HFWLRQ3DJHRI3DJHV
                                                                                      7KH5HVSRQVH*URXS
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                                                                                                                    Section 15
                                                               BP                                                  2LODQG'HEULV
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                                     5HPRYDO
                                                                                                                    3URFHGXUHV


 Shoreline Cleanup Techniques                                                                               Figure 15-2



        Cleanup                Description &               Primary Use of                 Physical and Biological
       Technique               Requirements              Cleanup Technique                     Effect of Use
                            0RWRUJUDGHUIRUPV         8VHGSULPDULO\RQVDQGDQG
                            ZLQGURZVIRUSLFNXSE\     JUDYHOEHDFKHVZKHUHRLO
     0RWRUJUDGHU
                            HOHYDWLQJVFUDSHU         SHQHWUDWLRQLVWRFPDQG 5HPRYHVRQO\XSSHUFPRIEHDFK
        HOHYDWLQJ
                            +HDY\HTXLSPHQW            WUDIILFDELOLW\RIEHDFKLVJRRG 1DWXUDOUHSOHQLVKPHQWRIVXEVWUDWH
        VFUDSHU
                            DFFHVVJRRG               &DQDOVREHXVHGRQ
                            WUDIILFDELOLW\            PXGIODWV
                                                     8VHGRQVDQGDQGJUDYHO
                            (OHYDWLQJVFUDSHUSLFNV
                                                     EHDFKHVZKHUHRLOSHQHWUDWLRQ
                            XSFRQWDPLQDWHG                                        5HPRYHVXSSHUWRFPRI
                                                     LVWRFP&DQDOVREH
     (OHYDWLQJ          PDWHULDOGLUHFWO\RII                                  EHDFK0LQRUUHGXFWLRQRIEHDFK
                                                     XVHGRQPXGIODWV$OVRXVHG
        VFUDSHU            EHDFK+HDY\                                           VWDELOLW\(URVLRQDQGEHDFKUHWUHDW
                                                     WRUHPRYHWDUEDOOVRUIODW
                            HTXLSPHQWDFFHVVJRRG                                 6ORZUHVWDELOL]DWLRQRIVXEVWUDWH
                                                     SDWWLHVIURPWKHVXUIDFHRID
                            WUDIILFDELOLW\
                                                     EHDFK
                                                     8VHGRQJUDYHODQGVDQG
                                                     EHDFKHVZKHUHRLOSHQHWUDWLRQ
                            0RWRUJUDGHUIRUPV      LVOHVVWKDWWRFP7KLV
                                                                                    5HPRYHVRQO\XSSHUFPRIEHDFK
     0RWRU              ZLQGURZVIRUSLFNXSE\ PHWKRGLVVORZHUWKDQXVLQJD
                                                                                    5HPRYHVVKDOORZEXUURZLQJ
        JUDGHUIURQW       IURQWHQGORDGHU+HDY\ PRWRUJUDGHUDQGHOHYDWLQJ
                                                                                    RUJDQLVPV1DWXUDOUHSOHQLVKPHQWRI
        HQGORDGHU         HTXLSPHQWDFFHVVJRRG VFUDSHUEXWFDQEHXVHG
                                                                                    VXEVWUDWH
                            WUDIILFDELOLW\         ZKHQHOHYDWLQJVFUDSHUVDUH
                                                     QRWDYDLODEOH&DQDOVREH
                                                     XVHGRQPXGIODWV
                                                      8VHGRQPXGVDQGRUJUDYHO
                                                      EHDFKHVZKHQRLOSHQHWUDWLRQ
                                                      LVPRGHUDWHDQGRLO
                                                      FRQWDPLQDWLRQLVOLJKWWR
                                                      PRGHUDWH5XEEHUWLUHGIURQW
                          )URQWHQGORDGHUSLFNV HQGORDGHUVDUHSUHIHUUHG
                                                                                    5HPRYHVWRFPRIEHDFK
                          XSPDWHULDOVGLUHFWO\RII EHFDXVHWKH\DUHIDVWHUDQG
                                                                                    5HGXFWLRQRIEHDFKVWDELOLW\(URVLRQ
     )URQWHQG        EHDFKDQGKDXOVLWWR      PLQLPL]HWKHGLVWXUEDQFHRI
                                                                                    DQGEHDFKUHWUHDW5HPRYHVDOPRVW
        ORDGHUUXEEHU XQORDGLQJDUHD+HDY\ WKHVXUIDFH)URQWHQG
                                                                                    DOOVKDOORZDQGGHHSEXUURZLQJ
        WLUHGRUWUDFNHG HTXLSPHQWDFFHVVIDLU ORDGHUVDUHWKHSUHIHUUHG
                                                                                    RUJDQLVPV5HVWDELOL]DWLRQRIWKH
                          WRJRRGWUDIILFDELOLW\IRU FKRLFHIRUUHPRYLQJFREEOH
                                                                                    SK\VLFDOHQYLURQPHQWLVVORZ
                          UXEEHUWLUHGORDGHU       VHGLPHQWV,IUXEEHUWLUHG
                                                      ORDGHUFDQQRWRSHUDWH
                                                      WUDFNHGORDGHUVDUHWKHQH[W
                                                      FKRLFH&DQDOVREHXVHGWR
                                                      UHPRYHH[WHQVLYHO\RLO
                                                      FRQWDPLQDWHGYHJHWDWLRQ




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                       836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                           &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                            (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                          'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                                    *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                                 ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                                     &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                  6HFWLRQ3DJHRI3DJHV
                                                                                                7KH5HVSRQVH*URXS
       Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 29 of 53
                                                                                                                        Section 15
                                                               BP                                                      2LODQG'HEULV
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                                         5HPRYDO
                                                                                                                        3URFHGXUHV


  Shoreline Cleanup Techniques (Cont’d)                                                                          Figure 15-2



        Cleanup                Description &               Primary Use of                   Physical and Biological
       Technique               Requirements              Cleanup Technique                       Effect of Use
                                                        8VHGRQFRDUVHVDQGJUDYHO
                            %XOOGR]HUSXVKHV           RUFREEOHEHDFKHVZKHUHRLO
                                                                                           5HPRYHVWRFPRIEHDFK
     %XOOGR]HU         FRQWDPLQDWHGVXEVWUDWH     SHQHWUDWLRQLVGHHSRLO
                                                                                           VWDELOLW\6HYHUHHURVLRQDQGFOLIIRU
        UXEEHUWLUHG       LQWRSLOHVIRUSLFNXSE\   FRQWDPLQDWLRQH[WHQVLYHDQG
                                                                                           EHDFKUHWUHDW,QXQGDWLRQRI
        IURQWHQG          IURQWHQGORDGHU+HDY\    WUDIILFDELOLW\RIWKHEHDFKLV
                                                                                           EDFNVKRUHV9HU\VORZ
        ORDGHU             HTXLSPHQWDFFHVVIDLU     SRRU&DQDOVREHXVHGWR
                                                                                           UHVWDELOL]DWLRQRIVXEVWUDWH
                            WRJRRGWUDIILFDELOLW\    UHPRYHKHDYLO\RLO
                                                        FRQWDPLQDWHGYHJHWDWLRQ
                            2SHUDWHVIURPWRSRID
                            EDQNRUEHDFKWR
                                                                                           5HPRYHVWRFPRIEHDFKRU
                            UHPRYHFRQWDPLQDWHG       8VHGWRUHPRYHRLO
                                                                                           EDQN6HYHUHUHGXFWLRQRIEHDFK
                            VHGLPHQWVDQGORDGV       FRQWDPLQDWHGVHGLPHQW
     %DFNKRH                                                                           VWDELOLW\DQGEHDFKUHWUHDW
                            LQWRWUXFNV+HDY\         SULPDULO\PXGRUVLOW RQ
                                                                                           5HVWDELOL]DWLRQRIVXEVWUDWHDQG
                            HTXLSPHQWDFFHVV         VWHHSEDQN
                                                                                           RUJDQLVPVLVH[WUHPHO\VORZ
                            UHTXLUHVVWDEOH
                            VXEVWUDWHDWWRSRIEDQN
                                                     8VHGRQVDQGJUDYHORU
                            2SHUDWHVIURPWRSRI                                          5HPRYHVWRFPRIEHDFK
                                                     FREEOHEHDFKHVZKHUH
                            FRQWDPLQDWHGDUHDWR                                          6HYHUHUHGXFWLRQRIEHDFKVWDELOLW\
     'UDJOLQHRU                                 WUDIILFDELOLW\LVYHU\SRRU LH
                            UHPRYHRLOHGVHGLPHQWV                                       (URVLRQDQGEHDFKUHWUHDW
        FODPVKHOO                                   WUDFNHGHTXLSPHQWFDQQRW
                            +HDY\HTXLSPHQW                                               5HVWDELOL]DWLRQRIVXEVWUDWHDQG
                                                     RSHUDWH DQGRLO
                            DFFHVV                                                       LQGLJHQRXVIDXQDLVH[WUHPHO\VORZ
                                                     FRQWDPLQDWLRQLVH[WHQVLYH
                         +LJKSUHVVXUHZDWHU
                         VWUHDPVUHPRYHRLOIURP 8VHGWRUHPRYHRLOFRDWLQJV
                                                                                           &DQGLVWXUEVXUIDFHRIVXEVWUDWH2LO
     +LJKSUHVVXUH VXEVWUDWHZKHUHLWLV     IURPERXOGHUVURFNDQGPDQ
                                                                                           QRWUHFRYHUHGPD\EHWR[LFWR
        IOXVKLQJ K\GUR FKDQQHOHGWRUHFRYHU\ PDGHVWUXFWXUHVSUHIHUUHG
                                                                                           RUJDQLVPV:LOGOLIHDJHQF\DSSURYDO
        EODVWLQJ        DUHD/LJKWYHKLFXODU   PHWKRGRIUHPRYLQJRLOIURP
                                                                                           UHTXLUHG
                         DFFHVVUHFRYHU\        WKHVHVXUIDFHV
                         HTXLSPHQW
                        6WHDPUHPRYHVRLOIURP
                        VXEVWUDWHZKHUHLWLV
                                                                                           $GGVKHDW !Û& WRVXUIDFH
                        FKDQQHOHGWRUHFRYHU\ 8VHGWRUHPRYHRLOFRDWLQJV
                                                                                           0RUWDOLW\RIRUJDQLVPVGXHWRKHDWLV
     6WHDPFOHDQLQJ DUHD/LJKWYHKLFXODU  IURPERXOGHUVURFNVDQG
                                                                                           OLNHO\2LOQRWUHFRYHUHGPD\EHWR[LF
                        DFFHVVUHFRYHU\       PDQPDGHVWUXFWXUHV
                                                                                           WRRUJDQLVPV
                        HTXLSPHQWDQGIUHVK
                        ZDWHUDFFHVV
                            6DQGPRYLQJDWKLJK                                           $GGVPDWHULDOWRWKHHQYLURQPHQW
                            YHORFLW\UHPRYHVRLO     8VHGWRUHPRYHWKLQ                 3RWHQWLDOUHFRQWDPLQDWLRQHURVLRQ
     6DQGEODVWLQJ       IURPVXEVWUDWH/LJKW    DFFXPXODWLRQVRIRLOUHVLGXH        DQGGHHSHUSHQHWUDWLRQLQWR
                            YHKLFXODUDFFHVVVXSSO\ IURPPDQPDGHVWUXFWXUHV           VXEVWUDWH2LOQRWUHFRYHUHGPD\EH
                            RIFOHDQVDQG                                                WR[LFWRRUJDQLVPV




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                          836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                              &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                               (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                             'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                                       *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                                    ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                                        &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                     6HFWLRQ3DJHRI3DJHV
                                                                                                   7KH5HVSRQVH*URXS
       Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 30 of 53
                                                                                                                  Section 15
                                                             BP                                                  2LODQG'HEULV
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                                   5HPRYDO
                                                                                                                  3URFHGXUHV


 Shoreline Cleanup Techniques (Cont’d)                                                                     Figure 15-2


        Cleanup                Description &              Primary Use of                Physical and Biological
       Technique               Requirements             Cleanup Technique                    Effect of Use
                                                       8VHGWRUHPRYHRLOIURP
                            2LOLVVFUDSHGIURP       OLJKWO\FRQWDPLQDWHG           6HOHFWLYHUHPRYDORIPDWHULDO/DERU
     0DQXDO            VXEVWUDWHPDQXDOO\XVLQJ ERXOGHUVURFNVDQGPDQ         LQWHQVLYHDFWLYLW\FDQGLVWXUE
         VFUDSLQJ          KDQGWRROV)RRWRUOLJKW PDGHVWUXFWXUHVRUKHDY\RLO   VHGLPHQWV2LOQRWUHFRYHUHGPD\EH
                            YHKLFXODUDFFHVV         DFFXPXODWLRQZKHQRWKHU        WR[LFWRRUJDQLVPV
                                                       WHFKQLTXHVDUHQRWDOORZHG
                                               8VHGRQILUPVDQGRUPXG
                                               EHDFKHVLQWKHHYHQWRI
                      2LOFROOHFWVLQVXPSDV
                                               FRQWLQXLQJRLO              5HTXLUHVH[FDYDWLRQRIDVXPS
                      LWPRYHVGRZQWKH
    6XPSDQG                              FRQWDPLQDWLRQZKHUH         WRFPGHHSRQVKRUHOLQH
                      EHDFKDQGLVUHPRYHG
        SXPS                                 VXIILFLHQWDORQJVKRUH       6RPHRLOZLOOSUREDEO\UHPDLQRQ
                      E\SXPSRUYDFXXP
        YDFXXP                                FXUUHQWVH[LVWDQGRQ       EHDFK2LOQRWUHFRYHUHGPD\EH
                      WUXFN5HTXLUHV
                                               VWUHDPVDQGULYHUVLQ       WR[LFWRRUJDQLVPV
                      UHFRYHU\HTXLSPHQW
                                               FRQMXQFWLRQZLWKGLYHUVLRQ
                                               ERRPLQJ
                                               8VHGRQPXGVDQG
                                               JUDYHODQGFREEOH
                      2LOHGVHGLPHQWVDQG
                                               EHDFKHVZKHQRLO            5HPRYHVFPRUOHVVRIEHDFK
    0DQXDO       GHEULVDUHUHPRYHGE\
                                               FRQWDPLQDWLRQLVOLJKWRU 6HOHFWLYH6HGLPHQWV
        UHPRYDORI   KDQGVKRYHOVUDNHV
                                               VSRUDGLFDQGRLO            GLVWXUEDQFHDQGHURVLRQ
        RLOHG        ZKHHOEDUURZVHWF
                                               SHQHWUDWLRQLVVOLJKWRURQ SRWHQWLDO5HPRYHVDQGGLVWXUEV
        PDWHULDOV    )RRWRUOLJKWYHKLFXODU
                                               EHDFKHVZKHUHDFFHVVIRU VPDOODQGEXUURZLQJRUJDQLVPV
                      WUDIILF
                                               KHDY\HTXLSPHQWLVQRW
                                               DYDLODEOH
                      /RZSUHVVXUHZDWHU      8VHGWRIOXVKOLJKWRLOV
                                                                            'RHVQRWGLVWXUEVXUIDFHWRDQ\
                      VSUD\IOXVKHVRLOIURP WKDWDUHQRWVWLFN\IURP
                                                                            JUHDWH[WHQW3RWHQWLDOIRU
                      VXEVWUDWHZKHUHLWLV   OLJKWO\FRQWDPLQDWHGPXG
    /RZSUHVVXUH                                                       UHFRQWDPLQDWLRQ2LOQRW
                      FKDQQHOHGWRUHFRYHU\ VXEVWUDWHVFREEOHV
        IOXVKLQJ                                                           UHFRYHUHGPD\EHWR[LFWR
                      SRLQWV/LJKWYHKLFXODU ERXOGHUVURFNVPDQ
                                                                            RUJDQLVP¶VGRZQVORSHRI
                      WUDIILFUHFRYHU\       PDGHVWUXFWXUHVDQG
                                                                            FOHDQXS
                      HTXLSPHQW              YHJHWDWLRQ
                                               8VHGRQVDQGRUJUDYHO
                      3XOOHGE\WUDFWRURU
                                               EHDFKHVOLJKWO\
                      VHOISURSHOOHGDFURVV                                'LVWXUEVXSSHUWRFPRI
                                               FRQWDPLQDWHGZLWKRLOLQ
    %HDFK        EHDFKSLFNLQJXSWDU                                EHDFKDQGVKDOORZEXUURZLQJ
                                               WKHIRUPRIKDUGSDWWLHVRU
        FOHDQHU      EDOOVRUSDWWLHV/LJKW                              RUJDQLVPV:LOGOLIHDJHQF\
                                               WDUEDOOV&DQDOVRUHPRYH
                      YHKLFXODUWUDIILF                                   DSSURYDOUHTXLUHG
                                               VPDOOTXDQWLWLHVRI
                      UHFRYHU\HTXLSPHQW
                                               FRQWDPLQDWHGGHEULV




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                     836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                         &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                          (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                        'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                                  *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                               ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                                   &RQWURO7LHU7LHU*R05HJLRQ
                                                                                                6HFWLRQ3DJHRI3DJHV
                                                                                              7KH5HVSRQVH*URXS
       Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 31 of 53
                                                                                                               Section 15
                                                            BP                                                2LODQG'HEULV
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                                5HPRYDO
                                                                                                               3URFHGXUHV

 Shoreline Cleanup Techniques (Cont’d)                                                                  Figure 15-2



        Cleanup                Description &              Primary Use of            Physical and Biological
       Technique               Requirements             Cleanup Technique                Effect of Use
                            6RUEHQWVDUHDSSOLHG
                            PDQXDOO\WR                                             6HOHFWLYHUHPRYDORIPDWHULDO
                                                    8VHGWRUHPRYHSRROVRI
    0DQXDO             FRQWDPLQDWHGDUHDV                                      /DERULQWHQVLYHDFWLYLW\FDQ
                                                    OLJKWQRQVWLFN\RLOIURP
        VRUEHQW            WRVRDNXSRLO                                         GLVWXUEVHGLPHQWV3RVVLEOH
                                                    PXGERXOGHUVURFNVDQG
        DSSOLFDWLRQ        'LVSRVDOFRQWDLQHUV                                     LQJHVWLRQRIVRUEHQWVE\ELUGV
                                                    PDQPDGHVWUXFWXUHV
                            IRUVRUEHQWVIRRWRU                                   DQGVPDOODQLPDOV
                            ERDWDFFHVV
                            2LOHGYHJHWDWLRQLV
                                                                                     'LVWXUEVVHGLPHQWVEHFDXVHRI
                            FXWE\KDQGFROOHFWHG
                                                                                     H[WHQVLYHXVHRIODERUFDQ
                            DQGVWXIIHGLQWREDJV
    0DQXDO                                     8VHGRQRLOFRQWDPLQDWHG FDXVHHURVLRQ)RRWWUDIILFPD\
                            RUFRQWDLQHUVIRU
        FXWWLQJ                                    YHJHWDWLRQ                     FDXVHURRWGDPDJHDQGVORZ
                            GLVSRVDO'HSOR\
                                                                                     UHFRYHU\'HVWUR\VDQLPDO
                            SO\ZRRGVKHHWVIRU
                                                                                     KDELWDWV
                            IRRWWUDIILF
                            8SZLQGHQGRI          8VHGRQDQ\VXEVWUDWHRU
                                                                                     &DXVHVKHDY\DLUSROOXWLRQDGGV
                            FRQWDPLQDWHGDUHDLV YHJHWDWLRQZKHUHVXIILFLHQW
                                                                                     KHDWWRVXEVWUDWHFDQFDXVH
                            LJQLWHGDQGDOORZHGWR RLOKDVFROOHFWHGWRVXVWDLQ
                                                                                     HURVLRQLIURRWV\VWHPGDPDJHG
    %XUQLQJ            EXUQWRGRZQZLQG      LJQLWLRQLIRLOLVDW\SHWKDW
                                                                                     .LOOVVXUIDFHRUJDQLVPVDQG
                            HQG/LJKWYHKLFXODU ZLOOVXSSRUWLJQLWLRQDQGDLU
                                                                                     UHVLGXDOPDWWHUPD\EHWR[LF
                            RUERDWDFFHVVILUH   SROOXWLRQUHJXODWLRQVVR
                                                                                     $SSURYDORI$LU3ROOXWLRQ$JHQF\
                            FRQWUROHTXLSPHQW     DOORZ
                                                    8VHGWRSLFNXSRLORQ
                                                    VKRUHOLQHVZKHUHSRROVRI
                                                    RLOKDYHIRUPHGLQQDWXUDO
                            2LOFROOHFWVLQVXPSV GHSUHVVLRQVRULQWKH
    9DFXXP             EHKLQGERRPVDQGLQ DEVHQFHRIVNLPPLQJ
        WUXFNV            QDWXUDOGHSUHVVLRQV HTXLSPHQWWRUHFRYHU              6RPHRLOPD\EHOHIWRQ
        YDFXXP             FROOHFWLRQSRLQWVDQG IORDWLQJRLOIURPWKHZDWHU VKRUHOLQHRULQZDWHULQFUHDVLQJ
        SXPSVRU           LVUHPRYHGE\          VXUIDFH$OVRXVHGRQILUP SRWHQWLDOIRUORQJWHUPWR[LF
        SRUWDEOH           YDFXXPWUXFNV         VDQGRUPXGEHDFKHV             HIIHFWV
        VNLPPHUV           YDFXXPSXPSVRU        ZKHUHORQJVKRUHFXUUHQW
                            SRUWDEOHVNLPPHUV     H[LVWVDQGRQVWUHDPDQG
                                                    ULYHULQFRQVWUXFWLRQZLWK
                                                    GLYHUVLRQDQGFRQWDLQPHQW
                                                    ERRPLQJ




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                  836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                      &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                       (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                     'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                               *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                            ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                                &RQWURO7LHU7LHU*R05HJLRQ
                                                                                             6HFWLRQ3DJHRI3DJHV
                                                                                           7KH5HVSRQVH*URXS
       Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 32 of 53
                                                                                                               Section 15
                                                             BP                                               2LODQG'HEULV
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                                5HPRYDO
                                                                                                               3URFHGXUHV


 Shoreline Cleanup Technique (Cont’d)                                                                  Figure 15-2



        Cleanup               Description &               Primary Use of            Physical and Biological
       Technique              Requirements              Cleanup Technique                Effect of Use
                             %XOOGR]HUSXVKHV
                                                    8VHGRQFRQWDPLQDWHG
                             FRQWDPLQDWHG                                       'LVUXSWLRQRIWRSOD\HURI
                                                    FREEOHDQGOLJKWO\
     3XVK               VXEVWUDWHLQWRVXUI                                VXEVWUDWHOHDYHVVRPHRLOLQ
                                                    FRQWDPLQDWHGJUDYHO
         FRQWDPLQDWH         ]RQHWRDFFHOHUDWH                                 LQWHUWLGDODUHD3RWHQWLDO
                                                    EHDFKHVZKHUHUHPRYDORI
         GVXEVWUDWH        QDWXUDOFOHDQLQJ                                  UHFRQWDPLQDWLRQ.LOOVPRVW
                                                    VHGLPHQWVPD\FDXVH
         LQWRVXUI          +HDY\HTXLSPHQW                                    RUJDQLVPVLQKDELWLQJWKH
                                                    HURVLRQRIWKHEHDFKRU
                             DFFHVVKLJKHQHUJ\                                XQFRQWDPLQDWHGVXEVWUDWH
                                                    EDFNVKRUHDUHD
                             VKRUHOLQH
                                                    8VHGRQORZDPHQLW\
                             7UDFWRUILWWHGZLWKD
                                                    FREEOHJUDYHORUVDQG
                             ULSSHULVRSHUDWHG
                                                    EHDFKHVRUEHDFKHV
                             XSDQGGRZQ                                        'LVUXSWLRQRIVHGLPHQWV/HDYHV
     %UHDNLQJXS                               ZKHUHVXEVWUDWHUHPRYDO
                             EHDFK+HDY\                                       RLORQEHDFK'LVWXUEVVKDOORZ
         SDYHPHQW                                  ZLOOFDXVHHURVLRQZKHUH
                             HTXLSPHQWDFFHVV                                  DQGGHHSEXUURZLQJRUJDQLVPV
                                                    WKLFNOD\HUVRIRLOKDYH
                             KLJKHQHUJ\
                                                    FUHDWHGDSDYHPHQWRQ
                             VKRUHOLQH
                                                    WKHEHDFKVXUIDFH
                             7UDFWRUSXOOVGLVFLQJ
                                                                                 /HDYHVRLOEXULHGLQVDQG
                             HTXLSPHQWDORQJ       8VHGRQQRQUHFUHDWLRQDO
                                                                                 'LVUXSWVVXUIDFHOD\HURI
     'LVFLQWR          FRQWDPLQDWHGDUHD VDQGRUJUDYHOEHDFKHV
                                                                                 VXEVWUDWH'LVWXUEVVKDOORZ
         VXEVWUDWH          +HDY\HTXLSPHQW       WKDWDUHOLJKWO\
                                                                                 EXUURZLQJRUJDQLVPV3RVVLEOH
                             DFFHVVIDLUWRJRRG FRQWDPLQDWHG
                                                                                 WR[LFHIIHFWVIURPEXULHGRLO
                             WUDIILFDELOLW\
                                                                                 6RPHRLOPD\UHPDLQRQEHDFK
                                                    8VHGIRURLOFRQWDPLQDWLRQ
                                                                                 DQGFRXOGFRQWDPLQDWHFOHDQ
                             1RDFWLRQWDNHQ2LO RQKLJKHQHUJ\EHDFKHV
                                                                                 DUHDV3RWHQWLDOWR[LFHIIHFWVDQG
                             OHIWWRGHJUDGH        SULPDULO\FREEOHERXOGHU
     1DWXUDO                                                                VPRWKHULQJE\WKHRLO3RWHQWLDO
                             QDWXUDOO\([SRVHG DQGURFN ZKHUHZDYH
         UHFRYHU\                                                               LQFRUSRUDWLRQRIRLOLQWRWKHIRRG
                             KLJKHQHUJ\           DFWLRQZLOOUHPRYHPRVWRLO
                                                                                 ZHE3RWHQWLDOHOLPLQDWLRQRI
                             HQYLURQPHQW          FRQWDPLQDWLRQLQDVKRUW
                                                                                 KDELWDWLIRUJDQLVPVZLOOQRWVHWWOH
                                                    SHULRGRIWLPH
                                                                                 RQUHVLGXDORLO




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                  836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                      &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                       (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                     'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                               *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                            ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                                &RQWURO7LHU7LHU*R05HJLRQ
                                                                                             6HFWLRQ3DJHRI3DJHV
                                                                                           7KH5HVSRQVH*URXS
       Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 33 of 53
                                                                                                                Section 15
                                                              BP                                               2LODQG'HEULV
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                                 5HPRYDO
                                                                                                                3URFHGXUHV


 Shoreline Cleanup Techniques (Cont’d)                                                                  Figure 15-2



        Cleanup                Description &               Primary Use of              Physical and Biological
       Technique               Requirements              Cleanup Technique                  Effect of Use
                            9DULRXVVL]HXQLWVWR
                            EHXVHGRQVKRUHRU
                            ZLWKVKDOORZGUDIWMRQ 8VHGWRUHFRYHURLOIURP
    2LO0RS            ERDWVLQZDWHUZLWK    QDWXUDORUDUWLILFLDO         
                            OLWWOHRUQRFXUUHQW  FRQWDLQPHQW
                            %RDWRUOLJKWYHKLFOH
                            DFFHVV
                                                                                   6HYHUHUHGXFWLRQRI
                            &RQWDPLQDWHGVRLOLV
                                                  8VHGRQFRQWDPLQDWHG            VXEVWUDWHEHDFKVWDELOLW\
                            H[FDYDWHGDQG
                                                  VRLOVZKHQGULQNLQJZDWHU       5HPRYHVDOOVKDOORZDQGVHHS
    5HPRYDOE\         UHSODFHGZLWKFOHDQ
                                                  ZHOOVDUHWKUHDWHQHGDQG        EXUURZLQJRUJDQLVPV
        ([FDYDWLRQ         VRLO+HDY\
                                                  FRQWDPLQDWHGGRHVQRW           5HVWDELOL]DWLRQRIWKHSK\VLFDO
                            H[FDYDWLRQHTXLSPHQW
                                                  H[FHHGIHHW              DQGELRORJLFDOHQYLURQPHQWLV
                            DFFHVVFOHDQVRLO
                                                                                   H[WUHPHO\VORZ
    5HFRYHU\RI        &RQWDPLQDWHGRLOLV        8VHGRQFRQWDPLQDWHG      2LOPD\UHPDLQLQVXEVWUDWHDQG
        RLOIURP           SXPSHGRXW+HDY\          JURXQGZDWHUYLDUHFRYHU\ VSUHDGGXULQJLQFOHPHQWZHDWKHU
        JURXQGZDWHU        HTXLSPHQWDFFHVV          ZLOOVRUE\WUHQFKLQJ    FRQGLWLRQV
                            &RQWDPLQDWHG
                                                                                  /HDYHVRLOEXULHGLQVXEVWUDWH
                            VXEVWUDWHLVWLOOHGLQWR 8VHGRQFRQWDPLQDWHG
                                                                                  'LVUXSWVVXUIDFHOD\HURI
    In-Situ            WKHJURXQGRURUJDQLF VRLOVZKHUHJURXQGZDWHULV
                                                                                  VXEVWUDWHDQGGLVWXUEVVKDOORZ
        7UHDWPHQW          IHUWLOL]HUVDUHDSSOLHG QRWWKUHDWHQHGRUKDVEHHQ
                                                                                  EXUURZLQJRUJDQLVPV3RVVLEOH
                            +HDY\HTXLSPHQW          FOHDQHG
                                                                                  WR[LFHIIHFWVIURPEXULHGRLO
                            DFFHVV
                            1XWULHQWVDQGRU
                            PLFURRUJDQLVPVDUH 0D\EHXVHGRQURFN\RU )RUPDODSSOLFDWLRQIRUXVHPXVW
    %LR
                            DSSOLHVWRDFFHOHUDWH VDQG\EHDFKHVLQ             EHREWDLQHG1RWVXLWDEOHLQ
        UHPHGLDWLRQ
                            WKHGHJUDGDWLRQRIWKH PDUVKODQGVRUSRROHGRLO UHVWULFWHGZDWHUERGLHV
                            RLO




7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                   836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                       &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                        (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                      'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                                *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                             ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                                 &RQWURO7LHU7LHU*R05HJLRQ
                                                                                              6HFWLRQ3DJHRI3DJHV
                                                                                            7KH5HVSRQVH*URXS
       Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 34 of 53
                                                                                                             Section 15
                                                            BP                                              2LODQG'HEULV
                               5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                              5HPRYDO
                                                                                                             3URFHGXUHV

    Marsh Cleanup Techniques                                                                           Figure 15-3


         Cleanup                                                    Equipment                 Environmental
                                 Description for Use
        Technique                                                    Required                    Impact
                               3UHIHUUHG0HWKRG8VHLQ      6PDOOMRQERDWDQGVPDOO
                                                                                         0LQLPDOLPSDFWLI
                               VPDOOFKDQQHOVDURXQG         JDVROLQHGULYHQSXPSV
                                                                                         IOXVKLQJLVGRQHIURP
    /RZ3UHVVXUH              FOXPSVRISODQWVDQGWUHHV    LQWDNHDQGGLVFKDUJH
                                                                                         ODQG6RPHPDUVK
    :DWHU)OXVKLQJ            DQGRQYHJHWDWLRQDORQJ       KRVHVVPDOOIORDWHU
                                                                                         YHJHWDWLRQPD\EH
                               FKDQQHOEDQNVDQGWKH         VNLPPHUSRUWDEOHVWRUDJH
                                                                                         FUXVKHG
                               VKRUHOLQH                     WDQN
                               /RRVHVRUEHQWV8VHLQVPDOO
                                                              /LJKWFXUWDLQERRPHPSW\
                               FKDQQHOVRUSRROVZLWKORZ                               /RRVHVRUEHQWVDUH
    6RUEHQWV                                                EDUUHOVIRUVWRULQJ
                               FXUUHQWV                                                GLIILFXOWWRUHWULHYH
    /RRVHVRUEHQWV                                          UHFRYHUHGVRUEHQW&DQ
                               3DGVRU5ROOV8VHLQVKDOORZ                            5HWULHYDOFDQFUXVK
    SDGVRUUROOV                                            DOVREHKHUGHGZLWKZDWHU
                               SRROVDQGRQVKRUHOLQHV                                  PDUVKJUDVVHV
                                                              VSUD\
                               ZLWKRXWGHEULVDFFXPXODWLRQ
                               3UHIHUUHG0HWKRG8VHLQ
                               VPDOOFKDQQHOVRUSRROVZLWK
                                                              2LO0RSV\VWHPSRUWDEOH
                               IUHHIORDWLQJRLO8VH
    2LO0RS                                                  VWRUDJHWDQNVIRU         0LQLPDOLPSDFWV
                               XSVWUHDPIURPFRQWDLQPHQW
                                                              UHFRYHULQJRLOSXOOH\V
                               ERRPDQGDORQJPDUVK
                               VKRUHOLQHV
    9HJHWDWLRQFXWWLQJ
    DQGUHPRYDO               +DQGFXWWLQJRIYHJHWDWLRQLQ +DQGFXWWLQJ6KHDUV
                                                                                          'DPDJHVPDUVK
     Note8VHRQO\           VPDOOFKDQQHOV0HFKDQLFDO SRZHUEUXVKFXWWHUVRU
                                                                                          VXUIDFH)RRWWUDIILF
    ZKHQIOXVKLQJIDLOV       FXWWLQJDORQJEDQNVRI        VLFNOHVPHFKDQLFDO
                                                                                          GDPDJHVSODQWV
    WRUHPRYHRLOIURP        FKDQQHOVRUVKRUHOLQH        FXWWLQJZHHGKDUYHVWHU
    SODQWV 
                                                                                         3URGXFHVFRQVLGHUDEOH
    %XUQLQJ                                                                              DLUSROOXWLRQ5HTXLUHV
                               8VHLQODUJHFRQWDPLQDWHG
     )RUXVHRQ                                                                         ORFDODSSURYDOE\
                               DUHDV&DQXVHLIRLOZLOO   3RUWDEOHSURSDQHIODPH
    VSDUWLQDW\SH                                                                       JRYHUQPHQWDJHQFLHV
                               EXUQ3UREDEO\VXLWDEOHZKHQ WKURZHUVRUZHHGEXUQHUV
     JUDVVOLNH                                                                         $UHDVQRWFRQWDPLQDWHG
                               PDUVKLVRQGLHEDFNVWDJH
    PDUVKHVRQO\                                                                       E\RLODUHVXEMHFWWR
                                                                                         GDPDJHE\ILUH
                                                                                         0DMRULPSDFW'HVWUR\V
                                                             3XPSFRQWDPLQDWHG
                                                                                         PXFKZLOGOLIH
                               8VHZKHQWR[LFDQG           OLTXLGVIURPWKHPDUVK
                                                                                         5HVWRUDWLRQPD\RFFXU
    0DUVKEXUQLQJ             SHUVLVWHQWRLOVKDYHGHHSO\  XVLQJDYDLODEOHPDWHULDOV
                                                                                         RYHUVHYHUDO\HDUVDV
                               FRQWDPLQDWHGVXEVWUDWD      GDPRUGLYHUWWKHIORZRI
                                                                                         ZDWHUUHWXUQVWRWKH
                                                             ZDWHULQWRWKHPDUVKDUHD
                                                                                         PDUVK
                                                                                         0DMRULPSDFW'HVWUR\V
                               8VHZKHQWR[LFDQG           'UDJOLQHGUHGJH
    6RLOHG9HJHWDWLRQ                                                                   PDUVKDUHDV5HTXLUHV
                               SHUVLVWHQWRLOVKDYHGHHSO\  FODPVKHOOIURQWHQG
    5HPRYDO                                                                             FRPSOHWHVXEVHTXHQW
                               FRQWDPLQDWHGVXEVWUDWD      ORDGHUEDFNKRHEXOOGR]HU
                                                                                         UHVWRUDWLRQ

7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                                836866:*20+6('2&
$XWKRULW\'DQ55HSORJOH                                                                    &XVWRGLDQ(DUQHVW%XVK
*R0(060JPW5HSUHVHQWDWLYH                                                                    (QYLURQPHQWDO&RRUGLQDWRU
6FRSH*R0(06                                                                   'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
,VVXH'DWH                                                             *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
5HYLVLRQ'DWH                                                                         ,VVXLQJ'HSW*20638
1H[W5HYLHZ'DWH                                                              &RQWURO7LHU7LHU*R05HJLRQ
                                                                                         6HFWLRQ3DJHRI3DJHV
                                                                                         7KH5HVSRQVH*URXS
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                                                            BP                                    Appendix H
                                                                                                  :RUVW&DVH
                          5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                       'LVFKDUJH


APPENDIX H – WORST CASE DISCHARGE
A. General Information
                     
   :RUVWFD VHGL VFKDUJHV FHQDULRV ZHUHVH OHFWHGEDVH GRQSU RMHFWHGGL VFKDUJHY ROXPH
   SUR[LPLW\WRVKRUHOLQHVDUHDVRIHQYLURQPHQWDODQGRUHFRQRPLFVHQVLWLYLW\DQGP DULQH
   DQG VKRUHOLQH UHVRXUFHV 7KH ODFN RI VLJQLILFDQW GLIIHUHQFHV EHWZHHQ RSHUDWLRQV
   SURGXFWVUHVRXUFHVDQGVHQVLWLYLWLHVKHOSHGWRHVWDEOLVKSRWHQWLDOGLVFKDUJHYROXPHDQG
   ORFDWLRQDVWKHSULPDU\GHFLVLYHIDFWRUVIRU:RUVW&DVH'LVFKDUJHVHOHFWLRQV
   
   7KHIROORZLQJ$SSHQGL[FRQWDLQVZRUVWFDVHGLVFKDUJHDVVHVVPHQWVDQGUHVSRQVHSODQV
   IRUD % 3 IDFLOLW\ ZLWKLQ P LOHV RI VKRUHRXW VLGHP LOHV IURPVK RUHDQGI URPDQ 
   H[SORUDWRU\ ZHOO 006U HJXODWLRQV LQ& )5 GH ILQHW KHSD UDPHWHUV IRUZ RUVW
   FDVHGLVFKDUJHFDOFXODWLRQV)RUDQRL OSURGXFWLRQSODWIRUPIDFLOLW\WKHVL]HRIWKHZRUVW
   FDVHGLVFKDUJHVFHQDULRLVWKHVXPRI
                              
         x 0D[LPXPFDSDFLW\RIDOORLOVWRUDJHWDQNVDQGIORZOLQHVRQWKHIDFLOLW\
         x 7KHYROXPHRIRLOFDOFXODWHGWROHDNIURPDEU HDNLQDQ\SLSHOLQHVFRQQHFWHG
            WRW KH IDFLOLW\FR QVLGHULQJVK XWGRZQW LPHW KHH IIHFWR IK\ GURVWDWLF SUHVVXUH
            JUDYLW\IULFWLRQDOZDOOIRUFHVDQGRWKHUIDFWRUV

         x 7KH GDLO\ SURGXFWLRQ YROXPH IURP DQ XQFRQWUROOHG EORZRXW RI WKH KLJKHVW
            FDSDFLW\ZHOODVVRFLDWHGZLWKWKHIDFLOLW\IORZLQJIRUGD\V


    7KHGL VFKDUJHU DWHV IURPDQ XQFR QWUROOHGEO RZRXWI RURL OS URGXFWLRQ IDFLOLWLHV ZHUH
    FDOFXODWHGXVLQJWKHIROORZLQJ
                   
        x    5HVHUYRLUFKDUDFWHULVWLFV
        x    5HVHUYRLUSUHVVXUHGDWD
        x    5HVHUYRLUGULYHPHFKDQLVPV
        x    5HVHUYRLUGHSOHWLRQUDWHV
        x    :HOOERUHFRPSOHWLRQFRQILJXUDWLRQV
        x    &DVLQJDQGSURGXFWLRQWXELQJVL]HV
        x    &DVLQJDQGWXELQJIULFWLRQIDFWRUV
        x    3URGXFWLRQKLVWRU\
        x    6WDWLFDQGIORZLQJERWWRPKROHSUHVVXUHV
        x     :DWHULQWUXVLRQ ZKHUHDSSURSULDWH 




    7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ            836866:*20+6('2&
    $XWKRULW\'DQ55HSORJOH                                                &XVWRGLDQ(DUQHVW%XVK
    *R0(060JPW5HSUHVHQWDWLYH                                                (QYLURQPHQWDO&RRUGLQDWRU
    6FRSH*R0(06                                               'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
    ,VVXH'DWH                                         *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
    5HYLVLRQ'DWH                                                      ,VVXLQJ'HSW*R0638
    1H[W5HYLHZ'DWH                                         &RQWURO7LHU7LHU*R05HJLRQ
                                                                         $SSHQGL[+3DJHRI3DJHV
                                                                         7KH5HVSRQVH*URXS
Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 36 of 53

                                                         BP                                       Appendix H
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                       5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                          'LVFKDUJH

        
 ,QDGGLWLRQWRWKHZRUVWFDVHGLVFKDUJHYROXPHVWKHLQGLYLGXDOVXPPDULHVDOVRLQFOXGH
 WKHIROORZLQJPDSVDQGLQIRUPDWLRQ
       
      2YHUYLHZ0DS
      /DQG,PSDFW3UREDELOLW\0DS
      2Q:DWHU5HFRYHU\5HVSRQVH(TXLSPHQW/RFDWLRQ0DS
      2Q:DWHU5HFRYHU\5HVSRQVH(TXLSPHQW6WDWXV%RDUGV
      'LVSHUVDQW$SSOLFDWLRQ0DS
      'LVSHUVDQW$SSOLFDWLRQ6WDWXV%RDUGV
       
 7KHORFDWLRQRIWKHQHDUHVWUHVSRQVHFRQWUDFWRUDQGHVWLPDWHGWLPHIRUPRELOL]DWLRQDQG
 GHSOR\PHQWRI U HVSRQVHU HVRXUFHV WR& RPSDQ\RSHU DWHG IDFLOLWLHV DQG5 2: SLSHOLQHV
 KDV EHHQFD OFXODWHGDQ GL QFOXGHGL QW KLV VHFWLRQZ KHUHDSSO LFDEOH7 LPHV SURYLGHG IRU
 PRELOL]DWLRQDQGGHSO R\PHQWDU HHVW LPDWHV DQGZ LOOGHSHQGRQ               PHWHRURORJLFDO
 FRQGLWLRQVVHDVWDWHDQGDYDLODELOLW\RIYHVVHOVDQGPDQSRZHU
 
                    Worst Case Discharge Scenario Summary Listing
                                                                                   Distance from
            WCD Type                   Name of Facility       Area/Block
                                                                                   Shore (Miles)
            0LOHV                  633LSHOLQH        63                    

            !0LOHV                   0&3'4          0&                     

      ([SORUDWRU\:HOO                /LYLQJ&RORU:HOO      0&                     

       )ORZHU*DUGHQV                                        N/A




 7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ               836866:*20+6('2&
 $XWKRULW\'DQ55HSORJOH                                                   &XVWRGLDQ(DUQHVW%XVK
 *R0(060JPW5HSUHVHQWDWLYH                                                   (QYLURQPHQWDO&RRUGLQDWRU
 6FRSH*R0(06                                                  'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
 ,VVXH'DWH                                            *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
 5HYLVLRQ'DWH                                                         ,VVXLQJ'HSW*R0638
 1H[W5HYLHZ'DWH                                            &RQWURO7LHU7LHU*R05HJLRQ
                                                                         $SSHQGL[+3DJHRI3DJHV
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  Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 37 of 53
                                                                                                 Appendix H
                                                         BP                                      Worst Case
                          Regional Oil Spill Response Plan    – Gulf of Mexico                    Discharge


D. Worst Case Discharge scenario for Exploratory Well from Offshore Drilling

   1) Worst Case Summary

        BP has determined that its worst case scenario for discharge          from a mobile drilling
        rig operation would occur f rom t he Mississippi C anyon 462           lease . MC 462 is a
        planned ex ploration well t argeted for M iocene oi l r eservoirs. Given t he anticipated
        reservoir thickness and hi storical pr oductivity index f or t he M iocene, worst ca se
        discharge i s expected to be 250,000 barrels of cr ude oi l pe r day . C alculations are
        based on formulas de ned by MMS regulations.         The oil has an estimated API gravity
        of 26°.

   2) Facility Information

             
             
             
                  Distance to Shore: 33 miles
                  API Gravity: 26 ° (Estimated)
                  Oil Storage Volume: 0 barrels

   3) Worst Case Discharge Volume

                                      Criteria                                     Barrels
            Highest capacity well uncontrolled blowout volume
                                                                                   250,000
            associated with exploration well
            TOTAL WORST CASE DISCHARGE                                             2 0,000


   4) Land Segment Identification

        Land areas that could be potentially impacted by a n MC 462 oil spill were determined
        using t he M MS O il Spill Risk A nalysis Model ( OSRAM) t rajectory r esults. The
        OSRAM est imates the probability t hat oi l sp ills f rom desi gnated l ocations would
        contact sh oreline and o shore nat ural r esources. These pr obabilities indicate, i n
        terms of percentage, the chance that an oil spill occurring in a particular launch area
        will contact a certain county or parish within 3, 10, and 30 days.




   Title of Document: Regional Oil Spill Response Plan               UPS -US -SW -GOM -HSE -DOC -00177 -2
   Authority: Dan R. Replogle ,                                                   Custodian: Earnest Bush,
   GoM EMS Mgmt Representative                                                   Environmental Coordinator
   Scope: GoM EMS                                                 Document Administrator: Kristy McNease,
   Issue Date: 12/01/00                                           GoM HSSE Document Mgmt Administrator
   Revision Date: 06/30/09                                                         Issuing Dept.: GoM SPU
   Next Review Date: 06/30/11                                             Control Tier: Tier 2 - GoM Region
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                                                         BP                                          :RUVW&DVH
                       5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                             'LVFKDUJH


      2&6 /DXQFK %ORFN  ZDV XWLOL]HG DV 0& ¶V SRLQW RIRU LJLQ /DQG VHJPHQWV
      LGHQWLILHGE\WKHPRGHODUHOLVWHGEHORZ

            Area and Spill Site           Land Segment Contact        Percent Impact Chance
                                            /DQG6HJPHQW1R 
                                                                     'D\V 'D\V 'D\V
                                           &RXQW\3DULVK 6WDWH
                                         &DPHURQ/$                                    
                                         9HUPLOLRQ/$                                   
                                         7HUUHERQQH/$                                  
                                         /DIRXUFKH/$                                   
                                         -HIIHUVRQ/$                                  
                                         3ODTXHPLQHV/$                                 
              0LVVLVVLSSL               6W%HUQDUG/$                                  
              &DQ\RQ                +DQFRFN06                                    
                                         +DUULV06                                      
                                         -DFNVRQ06                                    
                                         0RELOH$/                                     
                                         %DOGZLQ$/                                    
                                         (VFDPELD)/                                   
                                         2NDORRVD)/                                   
                                         :DOWRQ)/                                     
                                         %D\)/                                        


 5) Resource Identification
                        
    7KHO DQGVH JPHQWW KDW KDV WKHKL JKHVWSU REDELOLW\RI EHL QJL PSDFWHGE\ DU HOHDVH
    IURP0 &  LV 3ODTXHPLQHV 3DULVK/RXL VLDQDDW   SHUFHQW6 RXUFHV OLVWLQJ WKH
    UHVRXUFHVZLWKLQ3ODTXHPLQHV3DULVKDUHLGHQWLILHGLQSection 11
 
 6) Response
 
    %3ZLOOPDNHHYHU\HIIRUWWRUHVSRQGWRWKH:RUVW&DVH'LVFKDUJHDV HIIHFWLYHO\DV
    SRVVLEOH%3KDV FRQWUDFWHGZLWK1DWLRQDO5HVSRQVH&RUSRUDWLRQ 15& DQG0 DULQH
    6SLOO5 HVSRQVH& RUSRUDWLRQ 065& D V SULPDU\2 LO6 SLOO5H PRYDO2 UJDQL]DWLRQV
    &RQWDFWLQIRUPDWLRQIRUWKH2652VFDQEHIRXQGLQFigure 7-6A8SRQQRWLILFDWLRQRI
    WKHVSLOO%3ZRXOGUHTXHVWDSD UWLDORUIXOOPRELOL]DWLRQRIWKHUHVRXUFHVLGHQWLILHGLQ
    WKHDWWDFKHGAppendix ELQFOXGLQJEXWQRWOLPLWHGWRGLVSHUVDQWDLUFUDIWIURP$6, 
    065&D QG15 &  065&VN LPPLQJY HVVHOV 7KH 4XDOLILHG ,QGLYLGXDO 3HUVRQ LQ
    &KDUJH ,QFLGHQW& RPPDQGHURU GH VLJQHHP D\ FRQWDFWRW KHUVH UYLFHFR PSDQLHV LI
    WKH8QLILHG&RPPDQGGHHPVVXFKVHUYLFHVQHFHVVDU\WRWKHUHVSRQVHHIIRUWV
    
    $Q$GLRVPRGHOZDVUXQRQD VLPLODUSURGXFW7KHUHVXOWVLQGLFDWHRIWKHSURGXFW
    ZRXOGEHH YDSRUDWHG RUQDW XUDOO\GL VSHUVHG ZLWKLQKRXU VO HDYLQJDSSU R[LPDWHO\
    EDUUHOVRQWKHZDWHU
    

 7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ                  836866:*20+6('2&
 $XWKRULW\'DQ55HSORJOH                                                      &XVWRGLDQ(DUQHVW%XVK
 *R0(060JPW5HSUHVHQWDWLYH                                                      (QYLURQPHQWDO&RRUGLQDWRU
 6FRSH*R0(06                                                     'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
 ,VVXH'DWH                                               *R0+66('RFXPHQW0JPW$GPLQLVWUDWRU
 5HYLVLRQ'DWH                                                            ,VVXLQJ'HSW*R0638
 1H[W5HYLHZ'DWH                                               &RQWURO7LHU7LHU*R05HJLRQ
                                                                           $SSHQGL[+3DJHRI3DJHV
                                                                            7KH5HVSRQVH*URXS
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                       5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                          'LVFKDUJH


      7DEOHV EHORZ RXWOLQH HTXLSPHQW DV ZHOO DV WHPSRUDU\ VWRUDJH HTXLSPHQW WR EH
      FRQVLGHUHGL QRU GHU WRF RSHZ LWKDQL QLWLDOVS LOO RI  EEOV 7KHO LVWHVW LPDWHV
      LQGLYLGXDOW LPHV QHHGHGI RUSU RFXUHPHQWO RDGRXW W UDYHOW LPHW RW KHVL WHDQG 
      GHSOR\PHQW

      2IIVKRUH UHVSRQVHV WUDWHJLHV PD\L QFOXGHDW WHPSWLQJW RV NLPXW LOL]LQJ 065& 
      15&¶V2LO6SLOO5HVSRQVH9HVVHOV 2659V 2LO6SLOO5HVSRQVH%DUJHV 265%V ,'
      %RDWVDQG4 XLFN6 WULNH2 659VZ KLFKKD YHD  FRPELQHGGHU DWHG UHFRYHU\U DWHR I
      EDUUHOVGD\7HPSRUDU\VWRUDJHDVVRFLDWHGZLWKWKHLGHQWLILHGVNLPPLQJDQG
      WHPSRUDU\VWRUDJHHTXLSPHQWHTXDOVEDUUHOV
      
      'LVSHUVDQWV PD\EHD YLDEOHU HVSRQVHRSW LRQ, IDSSU RSULDWHW RVR UWLHV 
      JDOORQVWRJDOORQVSHUVRUWLH IURPWKH'&ZLWKLQWKHI LUVWKRX URSHUDWLQJ
      GD\RIWKHUHVSRQVH8VLQJDDSSOLFDWLRQUDWHHIIHFWLYHQHVVDQGDVVXPLQJ
      VRUWLHVSHUGD\WKHV\VWHPVFRXOGGLVSHUVHDSSUR[LPDWHO\WREDUUHOV
      RIRL OSHU GD\ EDVH GRQ W KH1 2$$' LVSHUVDQW 3ODQQHU $GGLWLRQDOO\W R VRUWLHV
        JDOORQVSHUVRUWLH IURP065&¶V%(DQGRQHVRUWLH JDOORQVSHUVRUWLH 
      IURP 065&¶V &$ FRXOG EH FRPSOHWHG ZLWKLQ WKH ILUVW  KRXU RSHUDWLQJ GD\ RI
      WKHU HVSRQVH8 VLQJ WKHVD PHDVV XPSWLRQV DV DERYHW KHVH WZRDL UFUDIWFR XOG
      GLVSHUVHDSS UR[LPDWHO\ W R EDU UHOV RIRL OL QW KH ILUVWG D\2 QHD FK
      VXEVHTXHQW GD\ WKH %( DQG WKH &$ ZRXOG EH DEOH WR FRPSOHWH  VRUWLHV
      HDFK DQGJ DOORQV SHUVR UWLHU HVSHFWLYHO\ I RUDW RWDODP RXQWRI  
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      HQYLURQPHQWDOFR QGLWLRQV1 HDUVKRUH UHVSRQVHP D\L QFOXGHW KHGHSO R\PHQWR I
      VKRUHOLQHERRPRQEHDFKDUHDVRUSURWHFWLRQDQGVRUEHQWERRPRQYHJHWDWHGDUHDV
      6WUDWHJLHV ZRXOG EH EDVHG XSRQ VXUYHLOODQFH DQG UHDO WLPH WUDMHFWRULHV SURYLGHG E\
      7KH5 HVSRQVH *URXS WKDWGHSL FWDU HDV RISR WHQWLDOL PSDFW JLYHQDFW XDOVH DDQG
      ZHDWKHUFR QGLWLRQV6 WUDWHJLHV IURPW KH$ UHD &RQWLQJHQF\3 ODQ7 KH5 HVSRQVH
      *URXSDQG8 QLILHG&RPPDQGZRXOGEHFR QVXOWHGWRHQVXUHWKDWHQYLURQPHQWDODQG
      VSHFLDOHFR QRPLF UHVRXUFHV ZRXOGEHFR UUHFWO\L GHQWLILHGDQGSU LRULWL]HGW RHQVX UH
      RSWLPDO SURWHFWLRQ7 KH 5HVSRQVH* URXSVK RUHOLQH UHVSRQVHJ XLGHV GHSLFW WKH
      SURWHFWLRQU HVSRQVH PRGHV DSSOLFDEOHI RURL OVS LOOFO HDQXSRSHU DWLRQV( DFK
      UHVSRQVHP RGHL V VFKHPDWLFDOO\U HSUHVHQWHGW RVK RZRSW LPXPGHSO R\PHQWDQG 
      RSHUDWLRQR I WKHH TXLSPHQWL QDU HDV RIHQ YLURQPHQWDOFR QFHUQ 6XSHUYLVRU\
      SHUVRQQHOKDY HW KHRSW LRQW RP RGLI\W KHGHSO R\PHQWDQGRSH UDWLRQR I HTXLSPHQW
      DOORZLQJ D PRUH HIIHFWLYH UHVSRQVH WR VLWHVSHFLILF FLUFXPVWDQFHV )RU PRUH
      LQIRUPDWLRQRQ UHVRXUFHL GHQWLILFDWLRQV HH Section 11I RUP RUH LQIRUPDWLRQ RQ
      UHVRXUFHSURWHFWLRQPHWKRGVVHHSection 13 




 7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ               836866:*20+6('2&
 $XWKRULW\'DQ55HSORJOH                                                   &XVWRGLDQ(DUQHVW%XVK
 *R0(060JPW5HSUHVHQWDWLYH                                                   (QYLURQPHQWDO&RRUGLQDWRU
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                                                                                                                                            Worst Case
                                                      Regional Oil Spill Response Plan   – Gulf of Mex ico                                   Discharge




Title of Document: Regional Oil Spill Response Plan                                                            UPS -US -SW -GOM -HSE -DOC -00177 -2
Authority: Dan R. Replogle ,                                                                                                 Custodian: Earnest Bush,
GoM EMS Mgmt Representative                                                                                                 Environmental Coordin ator
Scope: GoM EMS                                                                                               Document Administrator: Kristy McNease,
                                                                                                                                                         Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 40 of 53




Issue Date: 12/01/00                                                                                         GoM HSSE Document Mgmt Administrator
Revision Date: 06/30/09                                                                                                       Issuing Dept.: GoM SPU
Next Review Date: 06/30/11                                                                                          Control Tier: Tier 2 - GoM Region
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                                                                              BP                                                            Appendix H
                                                                                                                                            Worst Case
                                                      Regional Oil Spill Response Plan   – Gulf of Mex ico                                   Discharge




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                                                                                                                    Appendix H, Page 34 of 45 Pages
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                                                                                                                                            Worst Case
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                                                                                            Appendix H
                                                         BP                                 :RUVW&DVH
                       5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                    'LVFKDUJH




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 *R0(060JPW5HSUHVHQWDWLYH                                             (QYLURQPHQWDO&RRUGLQDWRU
 6FRSH*R0(06                                            'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
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 5HYLVLRQ'DWH                                                   ,VVXLQJ'HSW*R0638
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Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 44 of 53

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                       5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                    'LVFKDUJH




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 $XWKRULW\'DQ55HSORJOH                                             &XVWRGLDQ(DUQHVW%XVK
 *R0(060JPW5HSUHVHQWDWLYH                                             (QYLURQPHQWDO&RRUGLQDWRU
 6FRSH*R0(06                                            'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
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                       5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                    'LVFKDUJH




 7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ         836866:*20+6('2&
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 *R0(060JPW5HSUHVHQWDWLYH                                             (QYLURQPHQWDO&RRUGLQDWRU
 6FRSH*R0(06                                            'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
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 7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ         836866:*20+6('2&
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 *R0(060JPW5HSUHVHQWDWLYH                                             (QYLURQPHQWDO&RRUGLQDWRU
 6FRSH*R0(06                                            'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
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 *R0(060JPW5HSUHVHQWDWLYH                                             (QYLURQPHQWDO&RRUGLQDWRU
 6FRSH*R0(06                                            'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
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 7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ         836866:*20+6('2&
 $XWKRULW\'DQ55HSORJOH                                             &XVWRGLDQ(DUQHVW%XVK
 *R0(060JPW5HSUHVHQWDWLYH                                             (QYLURQPHQWDO&RRUGLQDWRU
 6FRSH*R0(06                                            'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
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                                                                              BP                                                           Appendix H
                                                                                                                                           Worst Case
                                                      Regional Oil Spill Response Plan   – Gulf of Mexico                                   Discharge




Title of Document: Regional Oil Spill Response Plan                                                           UPS -US -SW -GOM -HSE -DOC -00177 -2
Authority: Dan R. Replogle ,                                                                                                Custodian: Earnest Bush,
GoM EMS Mgmt Representative                                                                                                Environment al Coordinator
Scope: GoM EMS                                                                                              Document Administrator: Kristy McNease,
Issue Date: 12/01/00                                                                                        GoM HSSE Document Mgmt Administrator
                                                                                                                                                        Case 2:10-md-02179-CJB-DPC Document 4035-5 Filed 09/15/11 Page 49 of 53




Revision Date: 06/30/09                                                                                                      Issuing Dept.: GoM SPU
Next Review Date: 06/30/11                                                                                         Control Tier: Tier 2 - GoM Region
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                       5HJLRQDO2LO6SLOO5HVSRQVH3ODQ±*XOIRI0H[LFR                    'LVFKDUJH




 7LWOHRI'RFXPHQW5HJLRQDO2LO6SLOO5HVSRQVH3ODQ         836866:*20+6('2&
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 *R0(060JPW5HSUHVHQWDWLYH                                             (QYLURQPHQWDO&RRUGLQDWRU
 6FRSH*R0(06                                            'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
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 5HYLVLRQ'DWH                                                   ,VVXLQJ'HSW*R0638
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 *R0(060JPW5HSUHVHQWDWLYH                                             (QYLURQPHQWDO&RRUGLQDWRU
 6FRSH*R0(06                                            'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
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 6FRSH*R0(06                                            'RFXPHQW$GPLQLVWUDWRU.ULVW\0F1HDVH
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